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              In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 17-1913V

    ************************* *
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                                 *
     REVA SIMS,                  *
                                 *                         Special Master Katherine E. Oler
                     Petitioner, *
                                 *
                                 *                         Filed: October 25, 2019
     v.                          *
                                 *
                                 *
     SECRETARY OF HEALTH AND     *                         Final Attorneys’ Fees and Costs;
     HUMAN SERVICES,             *                         Reasonable Basis; Influenza; Brachial
                                 *                         Neuritis
                                 *
                     Respondent. *
                                 *
    ************************* *

William E. Cochran, Jr., Black McLaren Jones Ryland & Griffee, P.C., Memphis, TN,
     for Petitioner.
Heather L. Pearlman, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEYS’ FEES AND COSTS1

        On December 8, 2017, Reva Sims (“Petitioner”) filed a petition seeking compensation
under the National Vaccine Injury Compensation Program (the “Vaccine Program”)2 alleging that
she suffered brachial neuritis/plexitis, or alternatively, a shoulder injury related to vaccine
administration (SIRVA), as a result of the influenza vaccine she received on October 8, 2015. Pet.
at 1, ECF No. 1. On March 20, 2019, Petitioner moved to dismiss the petition (ECF No. 25) and
I issued a decision dismissing the petition for insufficient proof on March 25, 2019 (ECF No. 26).


1
  This Decision will be posted on the Court of Federal Claims’ website. This means the ruling will be
available to anyone with access to the internet. As provided by 42 U.S.C. § 300aa-12(d)(4)(B), however,
the parties may object to the decision’s inclusion of certain kinds of confidential information. Specifically,
under Vaccine Rule 18(b), each party has fourteen days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). If, upon review, I agree that
the identified materials fit within this definition, I will redact such material from public access. Otherwise,
the Decision in its present form will be available. Id.
2
  The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-10 through 34 (2012) (“Vaccine
Act” or “the Act”). Individual section references hereafter will be to § 300aa of the Act (but will omit that
statutory prefix).
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        On May 9, 2019, Petitioner filed a motion seeking attorneys’ fees and costs incurred
leading up to and during the pendency of the matter. Fees App., ECF No. 30. Respondent filed
his response in opposition to Petitioner’s motion on May 23, 2019 stating that Petitioner has failed
to establish a reasonable basis for filing the petition. Fees Resp., ECF No. 31. On May 30, 2019,
Petitioner replied. Fees Reply, ECF No. 33.

        For the reasons set forth below, Petitioner’s motion is GRANTED IN FULL.

   I.      Petitioner’s Relevant Medical History

      Petitioner received a flu vaccination in her left deltoid at Rosauers Pharmacy in Spokane,
Washington on October 8, 2015. Ex. 2 at 9; Pet. at 1.

        Following her vaccination, Petitioner “began to contemporaneously document some of
[her] symptoms in [her] calendar.” Pet’r’s Aff., Ex. 1 at 1. The first notation appears on Saturday,
October 10, 2015, in which Petitioner wrote: “Right shoulder tender - burning sharp pains - thought
I had slept wrong.” Ex. 7 at 1. When her symptoms persisted, she went to see Dr. Clancy Cone,
her primary care provider (“PCP”). The notes from Petitioner’s visit on October 26, 2015,
indicated that she had an onset of pain after her flu vaccination on October 8, 2015. Ex. 3 at 6.
Petitioner informed Dr. Cone that the “[p]ain [felt] like her arm [was] on fire,” and that “[n]ow
pain has involved [left] upper arm.” Id. Dr. Cone diagnosed Petitioner with neuritis, normal deep
tendon reflexes bilaterally, and prescribed Neurontin 100mg. Ex. 3 at 6.

        During Petitioner’s November 9, 2015 visit, Dr. Cone noted “pain at injection site [right]
arm 10/8/2015” and that she “has had good relief with one tab of 100mg/daily” of Neurontin. Ex.
3 at 5. He instructed her to “[c]ontinue Neurontin…for a full mo[nth] i.e. til Thanksgiving.” Id.

        On November 20, 2015, Dr. Cone referred Petitioner to Dr. Schaeffer for continued
injection site pain. Ex. 7 at 10; Ex. 3 at 4.

       On December 15, 2015, Petitioner had an appointment with neurologist, Dr. Philip Girard,
who noted “[w]eakness and pain in right arm” as the reason for her visit. Ex. 4 at 3. Dr. Girard
wrote:

        The patient states that two months ago[] she had a flu shot. A day later, she noticed
        very severe pain in her right arm extending from the shoulder up to the triceps and
        distally to the distal forearm, but not into the hand. Along with this pain is numbness
        in the same distribution and marked weakness of the right arm… She saw her
        primary care doctor who thought it was brachial neuritis and referred her to a
        neurologist.

Id. Petitioner had “definite weakness in both upper extremities proximally involving biceps,
deltoids, and triceps… [and] a patchy decrease in pin sensation mostly distally in the right upper
extremity, which did not conform to a specific nerve root or dermatomal distribution.” Id. Dr.
Girard’s assessment was “[p]robable autoimmune inflammatory brachial plexitis” and prescribed

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Gabapentin 300mg. Id. at 4. He also noted that “[t]here is one aspect of her neurologic examination
that does not fit in and that is that she is mildly hyperreflexic in her right arm.” Id.

       An EMG and nerve conduction study of Petitioner’s right upper arm the following day
showed “[n]ormal sensory and motor conduction studies of the right median, ulnar, and radial
nerves” and “[n]ormal EMG of the right upper extremity.” Ex. 4 at 6.

       Petitioner returned to Dr. Cone on January 15, 2016 to discuss physical therapy as a
treatment for brachial neuritis. Ex. 3 at 4.

        On January 18, 2016, Petitioner had an MRI with and without contrast of her right brachial
plexus, which found “small perineural cysts or pseudomeningocele involving the right T1 and right
T2 nerve roots. No definite evidence of right-sided brachial plexus mass, abnormal enhancement
or compression.” Ex. 4 at 2. Petitioner had evidence of “[d]egenerative changes of the cervical
spine...” Id.

         On February 17, 2016, Petitioner returned to Dr. Girard for “probable autoimmune
inflammatory brachial plexitis.” Ex. 4 at 1. Petitioner “could not tolerate the gabapentin” because
it “made her too sleepy, so she stopped taking it.” Id. She explained to Dr. Girard that she “still
has the pain, but it is a little better” and that “the pain is mostly present when she tries to sleep at
night. It does not bother her much during the daytime.” Id. Petitioner’s MRI “showed no evidence
of any significant pathology.” Id. Dr. Girard’s assessment was “probable autoimmune brachial
plexitis, slowly resolving.” Id. He ordered an MRI of Petitioner’s cervical spine “to make sure [it
was] not radicular pathology rather than brachial plexus pathology.” Id. Dr. Girard also told
Petitioner “to restart the [G]abapentin” at night. Id.

        On February 22, 2016, Petitioner started physical therapy (“PT”) at Missoula Bone and
Joint. Ex. 8 at 14. She was to complete six to eight weeks of PT, two times per week. Id. Petitioner
complained of “[bilateral] shoulder and arms [sic] pain and weakness” that began “10/8/15 after a
flu shot.” Id. Her “primary complaint [was] the weakness she [was] experiencing in her BIL UEs
L>R.” Id. Petitioner’s records show that she completed a total of two PT sessions for her arm:
2/22/16 and 2/26/16. Id. at 14, 17. On March 4, 2016, Petitioner’s cervical spine MRI showed
degenerative changes. Ex. 5 at 29.

        On March 16, 2016, Petitioner was hospitalized after falling over a cord onto her right side
and was “unable to get up because of right hip pain.” Ex. 5 at 45; Ex. 8 at 19. She was diagnosed
with a right femur fracture and required right hip surgery. Ex. 5 at 69. After her surgery, Petitioner
began PT for her hip at Missoula Bone and Joint. Ex. 8 at 19. She mentioned experiencing low
blood pressure, stomach issues, and lightheadedness. Ex. 8 at 30, 32. The same PT records make
no mention of ongoing arm pain, nor did Petitioner continue the PT for her arm. See Ex. 8.

       Petitioner visited Dr. Jeffrey Knight at Community Physician Group on January 24, 2017
with a complaint of “left arm pain.” Ex. 6 at 19. The record indicates that there was “gradual
progression in recurrent or worsening symptoms, but [it] all started ‘with flu shot Oct 8, 2015.’”
Id. During the exam she was noted as being an “excellent historian.” Id. Dr. Knight’s diagnosis
was “scapular dysfunction [and] left shoulder tendinosis.” Id. at 21.

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    II.         Procedural History

       The petition in this case was filed on December 8, 20173. Pet., ECF No. 1. Petitioner then
filed her supporting medical records on December 12, 2017, followed by a statement of
completion. Exs. 1-9, 11-14, ECF Nos. 6-7; ECF No. 8. A corrected Exhibit 10 was filed on
December 21, 2017. ECF No. 12.

        On September 17, 2018, Respondent filed a status report indicating his intent to defend this
case. ECF No. 20. Respondent filed his Rule 4(c) Report on November 19, 2018 recommending
against compensation. ECF No. 22. I then directed Petitioner to file a status report within 30 days
indicating how she wished to proceed in light of Respondent’s Report. See 11/20/18 Non-PDF
Scheduling Order.

        Petitioner filed a status report on December 19, 2018 indicating that she wished to file an
expert report in support of her claim. ECF No. 23. I gave Petitioner an initial deadline of February
19, 2019 to file an expert report. See 12/20/18 Non-PDF Scheduling Order. On February 19,
2019, I granted Petitioner’s motion for an extension until April 19, 2019 to file her expert report.
See 2/19/19 Non-PDF Scheduling Order.

        Prior to that deadline, on March 20, 2019, Petitioner moved for a decision dismissing her
petition citing an inability to prove her claim by preponderant evidence. ECF No. 25. I granted
Petitioner’s motion and dismissed the petition on March 25, 2019. ECF No. 26. A joint notice to
not seek review was filed on March 28, 2019 and judgment entered on March 29, 2019. ECF Nos.
27-28.

       Petitioner filed the instant motion for attorneys’ fees and costs on May 9, 2019. Fees App.,
ECF No. 30. On May 23, 2019, Respondent filed his response in opposition. Fees Resp., ECF No.
31. Petitioner replied on May 30, 2019. Fees Reply, ECF No. 33.

    III.        Parties’ Arguments

           A.      Petitioner’s Argument in Support of Reasonable Basis

        Petitioner filed her motion for attorneys’ fees and costs on May 9, 2019 and her reply to
Respondent’s opposition on May 30, 2019. See Fees App.; Fees Reply. Petitioner argues that her
claim had a reasonable basis because she alleged an injury diagnosed by her treating neurologist
and filed records establishing a shoulder injury with more than six months of residual effects. Id.

        Petitioner argues that the medical records she filed support a diagnosis of brachial
neuritis/plexitis. Fees Reply at 7-8. She points to her treatment by neurologist Dr. Philip Girard
on December 15, 2015 and February 17, 2016 to indicate a diagnosis of “autoimmune
inflammatory brachial plexitis.” Id. at 8 (citing Ex. 4 at 1-4).



3
 The petition was initially assigned to Special Master Roth and re-assigned to my docket on June 8, 2018.
ECF No. 15.
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        Petitioner further argues that the medical records she filed indicate residual effects of her
injury well beyond six months following her October 8, 2015 vaccination. Id. at 8-10. She states
that had she completed her six to eight weeks of PT as prescribed by Dr. Girard prior to her fall,
her treatment would have been beyond the requisite six-month period. Id. Petitioner states that
medical records from her January 24, 2017 visit with Dr. Jeffrey Knight, during which she
complained of worsening left arm pain, establish additional evidence of sequelae. Id. at 9 (citing
Ex. 6 at 19-23).

        Finally, Petitioner argues that the record, as a whole, establishes an off-table shoulder
injury related to vaccine administration (“SIRVA”). Id. at 10-11 (citing Exs. 2, 3, 6).

         B.      Respondent’s Argument Against Reasonable Basis

        Respondent argues that Petitioner’s records make clear she did not suffer residual effects
of her injury for at least six months. Fees Resp. at 7. Respondent states that Petitioner’s second
and final arm-related PT session was on February 26, 2016 and that, following her fall, she never
again received PT treatment for her arm. Id. (citing Ex. 8 at 14-18). Respondent makes no mention
of Petitioner’s January 2017 doctor visit.

       Respondent also argues that Petitioner cannot claim SIRVA because “her alleged plain was
experienced in the opposite arm of her injection.” Id. at 8. Respondent claims that the various tests
done for Petitioner’s brachial neuritis that came out normal is additional evidence that she lacked
reasonable basis. Id.

   IV.        Legal Standard

        Under the Vaccine Act, an award of reasonable attorneys’ fees and costs is presumed where
a petition for compensation is granted. Where compensation is denied, or a petition is dismissed,
as it was in this case, the special master must determine whether the petition was brought in good
faith and whether the claim had a reasonable basis. § 15(e)(1).

         A. Good Faith and Reasonable Basis

        The good faith requirement is met through a subjective inquiry. Di Roma v. Sec’y of Health
& Human Servs., No. 90-3277V, 1993 WL 496981, at *1 (Fed. Cl. Spec. Mstr. Nov. 18, 1993).
Such a requirement is a “subjective standard that focuses upon whether [P]etitioner honestly
believed he had a legitimate claim for compensation.” Turner v. Sec’y of Health & Human Servs.,
No. 99-544V, 2007 WL 4410030, at *5 (Fed. Cl. Spec. Mstr. Nov. 30, 2007). Without evidence
of bad faith, “petitioners are entitled to a presumption of good faith.” Grice v. Sec’y of Health &
Human Servs., 36 Fed. Cl. 114, 121 (1996). Thus, so long as Petitioner had an honest belief that
his claim could succeed, the good faith requirement is satisfied. See Riley v. Sec’y of Health &
Human Servs., No. 09-276V, 2011 WL 2036976, at *2 (Fed. Cl. Spec. Mstr. Apr. 29, 2011) (citing
Di Roma, 1993 WL 496981, at *1); Turner, 2007 WL 4410030, at *5.

       Regarding the reasonable basis requirement, it is incumbent upon Petitioner to
“affirmatively demonstrate a reasonable basis,” which is an objective inquiry. McKellar v. Sec’y
of Health & Human Servs., 101 Fed. Cl. 297, 305 (2011); Di Roma, 1993 WL 496981, at *1. When
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determining if a reasonable basis exists, many special masters and judges employ a totality of the
circumstances test. The factors to be considered under this test may include “the factual basis of
the claim, the medical and scientific support for the claim, the novelty of the vaccine, and the
novelty of the theory of causation.” Amankwaa v. Sec’y of Health & Human Servs., No. 17-36V,
2018 WL 3032395, at *7 (Fed. Cl. June 4, 2018). This “totality of the circumstances” approach
allows the special master to look at each application for attorneys’ fees and costs on a case-by-
case basis. Hamrick v. Sec’y of Health & Human Servs., No. 99-683V, 2007 WL 4793152, at *4
(Fed. Cl. Spec. Mstr. Nov. 19, 2007).

        Petitioner’s counsel is expected to make a pre-filing inquiry into a claim to ensure that it
has a reasonable basis. See Turner, 2007 WL 4410030, at *6-7. Unlike the good-faith inquiry, an
analysis of reasonable basis requires more than just Petitioner’s belief in his claim. Id. Instead,
the claim must at least be supported by objective evidence -- medical records or medical opinion.
Sharp-Roundtree v. Sec’y of Health & Human Servs., No. 14-804V, 2015 WL 12600336, at *3
(Fed. Cl. Spec. Mstr. Nov. 3, 2015). The evidence presented must be “sufficient to give the
petitioner a reasonable expectation of establishing causation.” Bekiaris v. Sec’y of Health &
Human Servs., No. 14-750V, 2018 WL 4908000, at *6 (Fed. Cl. Spec. Mstr. Sep. 25, 2018).
Temporal proximity between vaccination and onset of symptoms is a necessary component in
establishing causation in non-Table cases, but without more, temporal proximity alone “fails to
establish a reasonable basis for a vaccine claim.” Id.

         The Court of Federal Claims affirmed in Chuisano that “[a]t the most basic level, a
petitioner who submits no evidence would not be found to have reasonable basis because the
petitioner could not meet the burden of proof needed to establish reasonable basis.” Chuisano v.
United States, 116 Fed. Cl. 276, 286 (2014). In rationalizing its decision, the Chuisano court
highlighted Austin as an example of a petition that minimally crossed the required evidentiary
threshold. Id. at 292, citing Austin, 2013 WL 659574, at *8. In that case, the special master found
reasonable basis where only a single notation by a medical provider linked the alleged injury to
the vaccination. Austin, 2013 WL 659574, at *8. Still, the Court in Chuisano emphasized the
totality of circumstances test, and stated that “[a]n evidentiary standard may serve as an excellent
guidepost in fee decisions, but it cannot serve as the bright-line threshold. Such a rigid position is
at variance with the flexible structure of the [V]accine [P]rogram.” Chuisano, 116 Fed. Cl. 276 at
287. While the statute does not define the standard for reasonable basis, it is “something less than
the preponderant evidence ultimately required to prevail on one’s vaccine-injury claim.” Id.

       B. Attorneys’ Fees and Costs

        The Vaccine Act permits reimbursement of “reasonable” attorneys’ fees and costs. §
15(e)(1). Special masters have “wide latitude in determining the reasonableness of both attorneys’
fees and costs.” Hines v. Sec’y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991). The Federal
Circuit has endorsed the use of the lodestar approach, in which a court first determines “an initial
estimate of a reasonable attorneys’ fee by ‘multiplying the number of hours reasonably expended
on the litigation times a reasonable hourly rate.’” Avera v. Sec’y of Health & Human Servs., 515
F.3d 1343, 1347-48 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)). The court may then
make an upward or downward departure from the initial calculation based on other specific
findings. Id. at 1348. Although not explicitly stated in the statute, attorneys’ costs are also subject
to a reasonableness requirement. See Perreira, 27 Fed. Cl. 29 at 34.
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        Petitioner bears the burden of establishing that the rates charged, hours expended, and
costs incurred are reasonable. Wasson v. Sec’y of Health & Human Servs., 24 Cl. Ct. 482, 484
(1993). However, Special masters may reduce awards sua sponte, independent of enumerated
objections from the respondent. Sabella v. Sec’y of Health & Human Servs., 86 Fed. Cl. 201. 208-
09 (Fed. Cl. 2009); Savin v. Sec’y of Health & Human Servs., 85 Fed. Cl. 313, 318 (Fed. Cl. 2008),
aff’d No. 99-573V, 2008 WL 2066611 (Fed. Cl. Spec. Mstr. Apr. 22, 2008). Special masters may
look to their experience and judgment to reduce an award of fees and costs to a level they find
reasonable for the work performed. Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521
(Fed. Cl. 1993).

   V.      Discussion

        A. Good Faith

        Petitioner is entitled to a presumption of good faith. See Grice, 36 Fed. Cl. 114 at 121.
Respondent has represented that they do not challenge Petitioner’s good faith in this matter. Fees
Resp. at 5. Based on my own review of the case, I find that Petitioner acted in good faith in bringing
this petition.

        B. Reasonable Basis

        Respondent’s objections to reasonable basis in this case rest primarily on two points,
namely (1) that Petitioner did not suffer residual effects or sequelae of her injury in excess of six
months, and (2) that Petitioner’s medical records do not support her claimed injury of brachial
neuritis. Fees Resp. at 7-8.

         As noted above, the standard for establishing reasonable basis is less than that required to
prevail on a vaccine-injury claim. Chuisano, 116 Fed. Cl. 276 at 287. However, Petitioner is still
required to provide some evidence of a reasonable expectation of establishing causation. Bekiaris,
2018 WL 4908000, at *6. For the following reasons, I find that a reasonable basis existed for
filing this petition.

               1.      Six months of sequelae

        Petitioner received her flu vaccination on October 8, 2015. As discussed at length above,
Petitioner submitted medical record evidence showing that she sought treatment for her injury less
than three weeks after the vaccination and visited her PCP, a neurologist to whom she was referred
and a physical therapist. Petitioner also submitted records showing that she visited Dr. Jeffrey
Knight on January 24, 2017 where it was noted she was seeking treatment for recurrent and
worsening symptoms of left arm pain following her October 2015 vaccination. These records are
evidence of sequelae well in excess of six months from the date of her vaccination.

               2.      Diagnosis of brachial neuritis

       Petitioner’s records show that during a visit with Dr. Clancy Cone, her PCP, on October
26, 2015, Petitioner indicated she was experiencing pain in both her right and left (injection-site)
shoulders. Dr. Cone’s initial impression was neuritis and he prescribed Neurontin to treat her
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neuritis. She returned to her PCP on November 9, 2015 and was instructed to continue the
Neurontin for another month. On November 20, 2015, Dr. Cone referred Petitioner to a neurologist
due to continued pain. The neurologist, Dr. Phillip Girard, diagnosed Petitioner with “probable
autoimmune inflammatory brachial plexitis” on December 15, 2015 and prescribed Gabapentin.
Ex. 4 at 4. Petitioner returned to Dr. Cone on January 15, 2016 to discuss treatment options,
including physical therapy. She had an MRI three days later. On February 17, 2016, Petitioner
returned to Dr. Girard for ongoing shoulder pain. His assessment was “probable autoimmune
brachial plexitis, slowly resolving.” Id. at 1. Petitioner began PT on February 22, 2016 and had a
second session on February 26, 2016. A few weeks later, on March 16, 2016, Petitioner was
hospitalized for a fall resulting in a broken hip. On January 24, 2016, Petitioner went to Dr. Jeffrey
Knight for left arm pain and indicated there was “gradual progression in recurrent or worsening
symptoms, but [it] all started ‘with flu shot Oct 8, 2015.’” Ex. 6 at 19. For purposes of a reasonable
basis analysis, these records provide some evidence that Petitioner suffered from brachial neuritis.

               3.      Temporal Association

        The medical records in this case clearly reflect a temporal association between the
influenza vaccine and Petitioner’s left shoulder pain. Petitioner received her influenza vaccination
on October 8, 2015. She made note of her initial symptoms within 48 hours of her vaccination.
See Ex. 7 at 1. She then sought treatment with her PCP on October 26, 2015, less than three weeks
later. Ex. 3 at 6. At the appointment, Petitioner indicated onset of pain following her vaccination.
Id. While temporal association alone does not establish reasonable basis,4 because the medical
records show the onset of Petitioner’s shoulder pain occurred soon after receiving the influenza
vaccine, it is reasonable to consider temporal association as some support for her claim.

               4.      Opinion of Treating Physicians

        The notations in the medical records made by Petitioner’s treating physicians are also
favorable to her on the issue of reasonable basis. As mentioned above, Petitioner’s vaccination is
mentioned multiple time in relation to her symptoms. See Ex. 3 at 5 (“pain at injection site [right]
arm 10/8/15”); Id. at 6 (“onset pain after flu vaccination 10/8/15”); Ex. 6 at 19 (“left arm
shoulder…gradual progression in recurrent or worsening symptoms, but [it] all started ‘with flu
shot Oct 8, 2015’”). With respect to diagnosis, her treating physicians consistently assessed
Petitioner with brachial neuritis/plexitis. See Ex. 3 at 4, 6; Ex. 4 at 1, 3. Accordingly, I find that
these observations and opinions constitute additional evidence supporting a reasonable basis to file
the petition.

        The record establishes that: (1) Petitioner received an influenza vaccine, (2) she developed
shoulder pain within 48 hours of vaccination, (3) her medical providers mention Petitioner’s
immunization in relation to her symptoms, (4) she was diagnosed with brachial neuritis, and (5)
there is medical record evidence that Petitioner experienced related symptoms in January 2017.


4
  See Chuisano, 116 Fed. Cl. at 288 (“[r]easonable basis requires presenting more than evidence showing
only that the vaccine preceded the onset of the injury for which the petitioner seeks compensation.”)
(quoting Chuisano v. Sec’y of Health & Human Servs., 2011 WL 6234660, at 14 (Fed. Cl. Spec. Mstr. Oct.
25, 2013)).
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Because there is some support for Petitioner’s claim in the medical records, I conclude that a
reasonable basis existed when Petitioner filed her claim on December 8, 2017.

       The totality of the evidence outlined above, in combination with the lower standard of
proof required for establishing reasonable basis, was sufficient to provide Petitioner with a
reasonable basis to file this petition.

   VI.      Awarding Attorney’s Fees and Costs

         Petitioner requests a total of $24,705.87 in attorneys’ fees and costs. Fees App. at 1.

         A. Reasonable Attorney’s Fees

        Petitioner requests a total of $21,305.20 in attorneys’ fees for three attorneys, two law
clerks and a paralegal who contributed to this matter. Fees App. at 1; Fees App. Ex. 2.

        A reasonable hourly rate is defined as the rate “prevailing in the community for similar
services by lawyers of reasonably comparable skill, experience and reputation.” Avera, 515 F.3d
at 1348 (quoting Blum, 465 U.S. at 896 n.11). In general, this rate is based on “the forum rate for
the District of Columbia” rather than “the rate in the geographic area of the practice of [P]etitioner's
attorney.” Rodriguez v. Sec'y of Health & Human Servs., 632 F.3d 1381, 1384 (Fed. Cir. 2011)
(citing Avera, 515 F. 3d at 1349).

         Attorneys' fees are awarded for the “number of hours reasonably expended on the
litigation.” Avera, 515 F.3d at 1348. Counsel should not include in their fee requests hours that
are “excessive, redundant, or otherwise unnecessary.” Saxton ex rel. Saxton v. Sec'y of Health &
Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993) (quoting Hensley v. Eckerhart, 461 U.S. 424,
434 (1983)). “Unreasonably duplicative or excessive billing” includes “an attorney billing for a
single task on multiple occasions, multiple attorneys billing for a single task, attorneys billing
excessively for intra office communications, attorneys billing excessive hours, [and] attorneys
entering erroneous billing entries.” Raymo v. Sec'y of Health & Human Servs., 129 Fed. Cl. 691,
703 (2016).

                1. Requested and Awarded Hourly Rates

         Petitioner requests the following rates for attorneys and paralegals:

                                  Name                      2017    2018     2019
                     William E. Cochran, Jr. (Partner)      $365    $377     $391
                     Michael G. McLaren (Partner)           $440     n/a      n/a
                     Chris J. Webb (Associate)              $315     n/a      n/a
                     Samantha R. Ward (Law Clerk)           $148    $153     $156
                     Carmen Garcia Smith (Law Clerk)        $148    $153      n/a
                     Laura Leigh Holdford (Paralegal)       $145     n/a      n/a



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        The requested rates are consistent with what Black McLaren Jones Ryland & Grifee, P.C.
(“BMJRG”) has previously been awarded. See, e.g. Neeley v. Sec'y of Health & Human Servs.,
No. 16-251V, 2017 WL 7510722 (Fed. Cl. Spec. Mstr. Dec. 29, 2017) (SM Gowen); Miller, et al.
v. Sec'y of Health & Human Servs., No. 16-898V, 2017 WL 6997291 (Fed. Cl. Spec. Mstr. Dec.
28, 2017) (SM Sanders); Pancoast v. Sec'y of Health & Human Servs., No. 15-718V, 2016 WL
7574815 (Fed. Cl. Spec. Mstr. Nov. 16, 2016) (SM Corcoran); I.H. v. Sec'y of Health & Human
Servs., No. 13-766V, 2016 WL 7666536 (Fed. Cl. Spec. Mstr. Dec. 16, 2016) (CSM Dorsey); May
v. Sec'y of Health & Human Servs., No. 12-712V, 2016 WL 7664474 (Fed. Cl. Spec. Mstr. Dec.
15, 2016) (SM Roth); Check v. Sec'y of Health & Human Servs., No. 15-169V, 2016 WL 7448791
(Fed. Cl. Spec. Mstr. Nov. 30, 2016) (SM Millman). These rates are also in line with the OSM
Attorneys’ Forum Hourly Rate Fee Schedule.5 Thus, I find the requested rates to be reasonable.

                2. Requested and Awarded Billable Hours

        After review of the billing summary, I find that the total hours expended on this petition
were reasonable and award them in full. Thus, I award Petitioner the requested amount for fees
totaling $21,305.20.

       B. Reasonable Attorneys’ Costs

       Like attorneys’ fees, a request for reimbursement of costs and expenses must also be
reasonable. Perreira, 27 Fed. Cl. 29, 34 (1992). Reasonable costs include the costs of obtaining
medical records and expert time incurred while working on a case. Fester v. Sec’y of Health &
Human Servs., 10-243V, 2013 WL 5367670, at *16 (Fed. Cl. Spec. Mstr. Aug. 27, 2013). After
review of all invoices and supporting documentation, I find the costs incurred in this matter to be
reasonable and award them in full. Thus, I award Petitioner the requested amount for costs totaling
$3,400.67.

    VII.     Conclusion

         Based on the foregoing, I find that Petitioner acted in good faith and had a reasonable basis
to file her petition. Accordingly, I hereby GRANT IN FULL Petitioner’s Motion for Attorneys’
Fees and Costs in the amount of $24,705.87. The award shall be in the form of a check jointly
payable to Petitioner and Black McLaren Jones Ryland & Grifee, P.C.

      Any questions regarding this Order may be directed to my law clerk, Ahmed Almudallal,
by email at Ahmed_Almudallal@cfc.uscourts.gov.

       IT IS SO ORDERED.
                                                              s/ Katherine E. Oler
                                                              Katherine E. Oler
                                                              Special Master



5
 The fee schedules are published to the United States Court of Federal Claims website and can be found
here: https://www.uscfc.uscourts.gov/node/2914.
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